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                     5    Attorneys for
                          Amazon Logistics, Inc.
                     6

                     7

                     8                                   UNITED STATES BANKRUPTCY COURT
                     9                                    CENTRAL DISTRICT OF CALIFORNIA
                    10                                              LOS ANGELES DIVISION
                    11

                    12    In re:                                                        Case No. 2:19-bk-14989-WB
                                                                                        Jointly Administered:
                    13              SCOOBEEZ, et al.1,                                  2:19-bk-14991-WB, and 2:19-bk-14997-WB

                    14                                                                  Chapter 11
                                            Debtors and Debtors in
                    15                      Possession.           PROOF OF SERVICE OF AMAZON
                                                                  LOGISTICS, INC.’S NOTICE OF
                    16    _______________________________________ MOTION AND MOTION FOR AN
                                                                  ORDER: (A) DETERMINING THAT
                    17    Affects:                                THE AUTOMATIC STAY DOES NOT
                          ■ All Debtors                           REQUIRE AMAZON TO UTILIZE
                    18    □ Scoobeez, ONLY                        DEBTOR’S SERVICES, AND (B)
                          □ Scoobeez Global, Inc., ONLY           MODIFYING THE AUTOMATIC STAY;
                    19    □ Scoobur LLC, ONLY                     MEMORANDUM OF POINTS AND
                                                                  AUTHORITIES AND REQUEST TO
                    20                                            TAKE JUDICIAL NOTICE IN SUPPORT
                                                                  THEREOF
                    21
                                                                                        Date:            November 19, 2019
                    22                                                                  Time:            10:00 a.m.
                                                                                        Dept.:           United States Bankruptcy Court
                    23                                                                                   Edward Roybal Federal Building
                                                                                                         255 E Temple St., Ctrm 1375
                    24                                                                                   Los Angeles CA 90012

                    25                                                                  Judge: The Hon. Julia W. Brand

                    26

                    27    1
                                The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
                                Scoobeez (6339); Scoobeez Global, Inc. (9779); and, Scoobur, LLC (0343). The Debtors’ address is 3463
                    28          Foothill Boulevard, in Glendale, California 91214.
MORGAN, LEWIS &
 BOCKIUS LLP                                                                        -1-
 ATTORNEYS AT LAW        DB2/ 37692470.1
   COSTA MESA
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                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 Morgan Lewis & Bockius, LLP
 300 S Grand Ave FI 22, Los Angeles CA 90071-3132

A true and correct copy of the foregoing document entitled (specify): Amazon Logistics, Inc.'s Notice of Motion and
 Motion for An Order: (A) Determining That the Automatic Stay Does Not Reguire Amazon to Utilize Debtor's Services.
 and (B) Modifying the Automatic Stay; Memorandum of Points and Authorities and Reguest to Take Judicial Notice in
 Support Thereof
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 10/28/2019        , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

 See Service List, attached.



                                                                                         ~    Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 10/28/2019           , I served the following persons andlor entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
   Conway MacKenzie, Inc.           Daimler Trust                   Levene Neale Bender Yoo & Brill LLP
   333 SHope St Ste 3625            clo BK Servicing LLC            10250 Constellation Blvd Ste 1700
   Los Angeles CA 90071             PO Box 131265                   Los Angeles CA 90067
                                    Roseville MN 55113-0011

                                                                                        o     Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 andlor controlling LBR, on (date)      10/28/2019      , I served
the following persons andlor entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission andlor email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

The Hon. Julia W. Brand, Suite 1382
U.S. Bankruptcy Court, Roybal Federal Building
255 E Temple St, Los Angeles CA 90012

                                                                                        o     Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

10/28/2019         Renee Robles                                                                      ~                     ~
 Date                           Printed Name                                                      Signature



            This form is mandatory.   It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                             F 9013-3.1.PROOF.SERVICE
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JPF.LNBYB@ecf.inforuptcy.com

John-Patrick M Fritz on behalf of Creditor Committee Official Committee of
Unsecured Creditors jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com

John-Patrick M Fritz on behalf of Interested Party Levene, Neale, Bender,
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and Scoobeez Global, Inc.

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David Brian Lally on behalf of Attorney Peter and Barbara Ro Trustees of the Rosenthal Family
Trust UTD

3/25/1988

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Shane J Moses on behalf of Plaintiff Scoobeez, Inc.
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Rejoy Nalkara on behalf of Creditor BMW Financial Services NA, LLC, c/o AIS
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Creditors dln@lnbyb.com

David L. Neale on behalf of Creditor Committee Official Committee of Unsecured
Creditors dln@lnbyb.com

David L. Neale on behalf of Interested Party Levene, Neale, Bender, Yoo & Brill
L.L.P. dln@lnbyb.com

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ordubegian.aram@arentfox.com
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United States Trustee (LA)
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Eric K Yaeckel on behalf of Creditor Arturo Vega
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Armory Securities, LLC

Conway MacKenzie, Inc.
333 S Hope St Ste 3625
Los Angeles, CA 90071

Daimler Trust
c/o BK Servicing, LLC
PO Box 131265
Roseville, MN 55113-0011

Force Ten Partners, LLC

Levene Neale Bender Yoo & Brill LLP
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